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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Case No. 1:13-cv-03373-RM-KLM

LEHMAN BROTHERS HOLDINGS, INC.,

       Plaintiff,

v.

PMAC LENDING SERVICES, INC, f/k/a PREFERRED MORTGAGE ALLIANCE CORP.,

       Defendant.


                           RESPONSE TO NOTICE OF SETTLEMENT


       PMAC Lending Services, Inc. (“PMAC”), through its undersigned counsel, submits

this Response to the Notice of Settlement filed by Plaintiff [Nov. 5, 2014; Doc. 46].

       On November 5, 2014 Plaintiff filed a Notice of Settlement stating the parties have

reached an agreement “in principle” to settle this matter. (Doc. 46.) This Court issued an

order vacating the May 11, 2015 pre-trial conference and directing the parties to file

dismissal papers on or before January 5, 2015. (Doc. 48.) The parties continue to actively

discuss settlement terms, but have not yet finalized an agreement. Because there is no

finalized settlement agreement, PMAC contemporaneously files a Response in Opposition

to Plaintiff’s Motion to Stay Litigation [Oct. 17, 2014; Doc. 41].
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      DATED this 7th day of November, 2014.



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                                               ATTORNEYS FOR DEFENDANT

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of the above and foregoing was
electronically filed with the Clerk of the United States District Court using the CM/ECF
system which will send notification to all counsel referenced below, this 7th day of
November, 2014 addressed to:

      Michael J. Gates, Esq.
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